Case 3:23-cv-05195-JCC Document 14

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were OM CT OF HAHNGTON TACOMA,
BY
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Candace Marie Arden CASE NO. AB TCO

[to be filled in by Clerk’s Office]

COMPLAINT FOR VIOLATION

OF CIVIL RIGHTS

. (for use only by plaintiffs not in
Plaintiff(s), custody)
v.
Jury Trial: O Yes No
City of Long Beach Police & Fire
Departments: Long Beach South Pacific
District Court Clerks Office. Judges, &
Prosecutors: Pacific County 911
Communications & Dispatch, Superior
Court Clerk’s Office, Prosecutorial &
Judicial Officers. et.. eal. - f
sf 2
THE PARTIES TO we scompLanr (2023 {— te
A.  Plaintifffs) KX ive? a eacm TMT 4

Provide the information below for each plaintiff named in the complai t. Attach
additional pages if needed Bey, Ve Loe
Candace Marie Arden (possibly State Farm)

3095 Highway 101, Ste. 11-110
Gearhart, Clatsop County
Oregon 97138

503-739-6374

Name

Street Address
City and County
State and Zip Code
Telephone Number

=

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS - /

23

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Case 3:23-cv-05195-JCC Document 14
Pro Se I 2022

B Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if

needed.

Defendant No. 1

Name

Job or Title (if known)
Street Address

City and County
Staite and Zip Code
Telephone Number

Defendant No. 2

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

COMPLAINT FOR. A CIVIL CASE - 2

Filed 06/12/23 Page 2 of 82

City of Long Beach, South Pacific District Court;
Judge Kaino, AJudge Nancy McAllister; Prosecutors,
Willaim Penoyar & Ashley Fluckinggr, & all clerks of

{i fp oft A

Long Beach, Pacific County

Washington 98631

360-642-9417

Ocean Beach Hospital

Kevin Ochoa; M.D. & Richard Brunkan, M-D.

171 First Ave. N.

Ilwaco, Pacific County

Washington 98624

360-642-9417

Legacy Emanuel Hospital

Ronald R. Barbosa, Emergency Doctor

2801 N. Gantenbein Avenue

Portland, Multnomah

Oregon 97138

(503)739-6374

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 3 of 82

Pro Se 1 2022

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number

Defendant No. 5

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

Defendant No. 6

Name

Job or Title Gf known)
Street Address

City and County
State and Zip Code
Telephone Number

Defendant No. 7

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code

Trish Agnish, dba LBT Enterprises, LTD

Owner/Operator

305 Pacific Avenue S

Long Beach

Washington 98631-3937

505-298-098 & (3670-783—2470)

Todd Dealman & James P. Hogg

Supervisor and Game Patroller

48 Devonshire Road

Montesano, Grays Harbor

Washington 98536

(360)2349-6522

Mark Underwood,, ex, al

Husband & Wife

439 Bluegrass Drive

Culver, Jefferson (Resided in Long Beach)

Oregon 97734

(541)779-1315

Washington State Patrol

Breath Test Division Records & Laboratories

811 East Roanoke

Seattle, King

Washington, (unknown Zip Code)

COMPLAINT FOR A CIVIL CASE - 3

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 4 of 82

Pro Se I 2022

Telephone Number
Defendant No. wm

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code

Telephone Number

Defendant No. q
Name

Job or Title (Gif known)
Street Address

City and County

State and Zip Code

Telephone Number

Name / oO

Job or Title (if known)
Street Address

City and County

State and Zip Code

COMPLAINT FOR A CIVIL CASE - 4

(206)720-3018, Ex 24104

e Lewis County District & Superior courts Judges,
Prosecutors, Commissioners, Court appointed
Counsel, Clerks, Lewis County Jail, , etc.

Rowe, Wendy Trip, Rachael Tiller, Etc.

Mike Rowe, Wendy Trip, Rachael Tiller, etc

Judges, Prosecutors, etc. and staff

345 West Main

Chehalis, Washington 98532

Washington

(360)740-1333

Mason County Superior/Municipal Courts

To be named later (possibly

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Thurston County Superior Courts, Sheriff
Departments, City Police, ete.

To be named later (possibly) F 2 eke 9

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23. Page 5 of 82

Pro Se I 2022

B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if

needed.
Defendant No. 1 /
)
Name Le awaord. Beal
;

Job or Title (if known) VO pnanee” Dba b
aL
Street Address - j

City and County
State and Zip Code

Telephone Number

Job or Title (if kntxyn)
Street Address
City and County
State and Zip Code

Telephone Number

Defendant No. 3

Name
Job or Title (if known)
Street Address

City and County
State and Zip Cgde
Telephone

COMPLAINT FOR A CIVIL CASE f 4 aR

9/2/22, 4.40pm Case 3:23-cv-05195-JCC Document 14106hiledeG/12/23 Page 6 of 82

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 7 of 82

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Transcript of 911 Calls

Pacific County Sheriff

Audio Recording Transcribed By:

Jan-Marie Glaze,

CCR, RPR, CRR Certified Court Reporter
License No, 2491

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INDEX

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1Q

Proceeding:

Track 1
Call 1
Call 2
Call 3
Track 2
Track 3
Track 4
Track 5

1 OO AD BW WwW

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(Track 1 - Call 1)

911: ...Dispatch.
. Meg
CALLER: Hi. This is (inaudible) calling
because a friend of mine stole my car and -- yesterday
morning I -- or he asked to use it to go look for his

cell phone that he dropped. I have his cell phone on

my plan. (Inaudible) still have $300 to pay on it.
Honey

And he dropped it in Aberdeen Heights. And he was

supposed to go look for it and bring it back by five in

the morning. I have been calling, texting. He found
the phone at (inaudible). I know he's got the
messages. The other people with him, you need to bring

the car back. He ignored every message, has not
brought the car back, and he --

911: Okay. So you let him use your car?

CALLER: At five in the morning, and he was
supposed to go look for his cell phone on the Aberdeen
Highway where he got out of the car, and then -- cuz he
cheated on me on Christmas, so I broke up with him, and
this was the first day we were gonna talk since what
had happened. And we were coming back from -- we had
gone to the casino. We were coming back from Aberdeen.
We were talking and pulled over, and he got out of the
car and was kind of walking around, cooling down,

because he got caught cheating and was mad. You know,

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like I did something wrong.

Well, he apparently dropped the phone there. We
get back to the house, and I told him -- I asked him, I
was like, "Well, where do you want to go? I'il drop
you off. You're not coming back home. You know, it's
over; it's done." And he said, "Can I drop you off at
the house, take the car --"

911: Okay. But are you trying to report
that your car has been stolen?

CALLER: Yes.

911: Okay. But you let him use your car, so
it's not technically stolen.

CALLER: So what is it when somebody doesn't
come back with your car for over 30 hours when they
should have only had it, like, an hour?

911: I mean, I can go ahead and let an
officer know about this. I need to put you on hold for
just a moment.

CALLER: Okay.

(Track 1 - Call 2)
911: 911, what is your emergency?
CALLER: We have a drunk driver just ran into
a car and then is proceeding to drive away, a hit and

run.

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911: All right. Where is this located?

CALLER: This is on Main Street in Long
Beach, Washington, at the four-way stop. She just took
a right and headed south.

911: Okay. What kind of vehicle is it?

CALLER: It is a white, boxy ~- she just ran
into another car just about a hundred yards down the
road. There's lots of people trying to stop this
crazy, drunken chick.

911: Okay. What kind of car is it?

CALLER: It's a white, four-door, boxy car.
Go ahead. Go ahead.

911: What kind --

CALLER: I don't know, ma'am. It's a white
car. It is a Toyota car.

911: Sir, I understand. Are you able to see
a license plate at all?

CALLER: Yes. Right now. 089 KBE, Oregon.

911: Okay.

CALLER: She's not moving anywhere, ma'am.
She just ran into -- She Just Ran...

911: Okay. What direction are they heading?

CALLER: Well, she's not heading anywhere.
She was going south. She's a hundred yards south of

the four-way intersection in Long Beach. She's not

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 12 of 82

gonna be moving anymore because she ran into a parked
car and disabled her car. There's ten people
surrounding the car right now.

911: Okay. So we have gotten another report
about this. Can I get your name, sir?

Perky Pile

CALLER: My name is Scott (indecipherable).

911: All right. I will go ahead and put
this information in and let our officers know.

CALLER: Thank you very much.

911: All right. Thank you. Bye.

(Track 1 - Call 3)

911: 911, what is your emergency?

CALLER: Yeah. We just had a car accident in
downtown Long Beach.

911: Okay. What is the location of this?

CALLER: Right in front of the Cottage
Bakery.

911: Okay. Are you on Pacific Avenue?

CALLER: Yes.

911: Okay. Can I get --

CALLER: It's -- my name is Whitney.

911: I'm sorry. What is that?

CALLER: My name is Whitney, and there's --

it would be at the 2 Beach. Three vehicles involved,

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and it's partially blocking right now.

911: Okay. Is there any injuries?

CALLER: As of right now, there's nothing
serious. The one guy that got hit -- I gotta go up and
ask the other one, but the first guy that got hit, he's
okay. The other person --

911: Sir, we have received multiple reports
about this.

CALLER: Okay.

911: I'm going to go ahead and put your
information in. Okay?

CALLER: Okay. Thank you.

911: All right. Thank you. Bye.

(Track 2)
911: 911, what's your emergency?
CALLER: Yeah. We got an accident right in

front of Cranberry Castle.

911: What kind of -- what vehicles?

CALLER: It's a car. A car ran into another
car.

911: Two-vehicle accident?

CALLER: Yes.
911: Do you know if it's injuries?

CALLER: Well, it just happened. There's

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 14 of 82

people standing out there; that's why I'm calling you.
911: Okay. Hold on just a second. Okay?
CALLER: Yeah. Yeah.
911: Let me get some help headed your way,

but T'll need more information from you.

(Track 3)
CALLER: Am I talking to Long Beach?
911: Just a second here. This is the center
we do for Long Beach.
Mandy
CALLER: Oh, okay. This is Nancy. Last name
is McNitt, M-c-N-i-t-t, and I'm at 111 Pacific.
Nan
911: Okay. Nancy, tet them know that the
help is on the way. Okay? I'm going to --
CALLER: Okay.
911: -- go ahead and get the fire department
out there.
CALLER: All right. Thanks.

911: Bye-bye.

CALLER: Mm-hm, bye.

(Track 4)
911: 911, what's your emergency?
CALLER: Hey, yeah. There's a car wreck

right outside of the Candyman Sweet Shop.

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911: Yep. Just a second. Okay?
CALLER: All right.

911: Two-vehicle accident out in front of

111 Pacific Avenue South? Is that right, sir?

CALLER: Oh, yes. Yeah. Yeah. Yeah.
911: dust a second. Okay?

CALLER: Okay.

(Track 5)
SPEAKER: I don't think anyone was in it.
911: Okay. Help is on the way. All right?
CALLER: All right. Thank you.
911: Bye-bye.

CALLER: Bye.

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Case 3:23-cv-05195-JCC Document 14

02/11/21 PACIFIC COUNTY SHERIFF 618
10:00 CALL DETATL REPORT Page: 1
Call Number: 210102038

Nature: PD Accident

Reported: 14:10:26 01/02/21

Revd By: Vanderpool J How Revd: 9

Occ Btwn: 14:10:24 01/02/21 and 14:10:26 01/02/21

Type: le

Priority:

Address: 111 PACIFIC AVE §$

City: Long Beach

Alarm:

COMPLAINANT /CONTACT

Complainant: CRANBERRY CASTLE, Name#: 28963

Race: Sex: DOB: **/**/*x

Address: 408 PACIFIC AVE S; 3, LONG BEACH

Home Phone: (360) 642-8966 Work Phone: (360) 642-3088

Contact: CRANBERRY CASTLE Nancy Mcnitt

Address: 111 PACIFIC AVE §

Phone: (360) 642-8966

RADIO LOG

Dispatcher Time/Date Unit Code Zone Agnc Description

Vanderpool 14:11:01 01/02/21 3L3 ENRT LBPD LBPD incid#=21-0007L Enroute
call=361

Vanderpool 14:12:28 01/02/21 DLA ASSG MEDI LBA Assigned to a Call call=3Ge

Vanderpool 14:12:28 01/02/21 DLF ASSG MEDI LBFD incid#=21010209 Assigned to
a Call call=36e

Vanderpool 14:12:28 01/02/21 MEDIX ASSG MEDI LBPD Assigned to a Call call=36e

Vanderpool 14:13:10 01/02/21 3L3 ARRV LBPD LBPD call=361

Vanderpool 14:14:17 01/02/21 3L3 43 LBPD LBPD one female injured expedite
aid

Vanderpool 14:14:50 01/02/21 3L3 VHIN LBPD LBPD pl=azs0637

Vanderpool 14:14:58 01/02/21 3L3 VHIN LBPD LBPD pl=089kve st=or

Vanderpool 14:15:10 01/02/21 313 VHIN LBPD LBPD pl=345gcu st=or

Vanderpool 14:15:35 01/02/21 313 VHIN LBPD LBPD pl=azs0637

Vanderpool 14:18:00 01/02/21 8821 ENRT MEDI LBFD incid#=21010209 Enroute
call=36e

Vanderpool 14:19:52 01/02/21 8821 ARRV MEDI LBFD blocking S bound lane
diverting traffic, call=36e

Vanderpool 14:20:15 01/02/21 313 4 LBPD LBPD code 4

Vanderpool 14:23:22 01/02/21 8821 43 MEDI LBFD tone out tow truck to
location vehicle blocking
traffic

Vanderpool 14:27:44 01/02/21 8821 43 MEDI LBFD medix transporting 1 to OBH
standing by for Tow

Vanderpool 14:35:43 01/02/21 8821 43 MEDI LBFD come in from south

Vanderpool 14:37:59 01/02/21 3L3 43 LBPD LBPD O089kbe fax to my office

Vanderpool 14:43:16 01/02/21 8821 43 MEDI LBFD loeaded on tow 1 tow truck

is all that is needed

Call ID 210102038 Page 4 of 3
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 17 of 82

02/11/21 PACIFIC COUNTY SHERIFF 618
10:00 CALL DETAIL REPORT Page: 2

Vanderpool 14:47:15 01/02/21 3L3 CMPL LBPD LBPD incid#=21-0007L Completed
Call call=361

Vanderpool 14:47:23 01/02/21 8821 CMPL MEDI LBFD incid#=21010209 Completed
Call call=36e

Vanderpool 14:47:23 01/02/21 DLA CMPL MEDI LBA Completed Call call=36e

Vanderpool 14:47:23 01/02/21 DLF CMPL MEDI LBFD incid#=21010209 Completed
Call call=36e

Vanderpool 14:47:23 01/02/21 MEDIX CMPL MEDI LBPD Completed Call disp:ACT
clr:NA call=36e

COMMENTS

2 vehicle accident outfront of

14:13:04 01/02/2021 - Vanderpool J

another caller 541 972 5713

14:13:24 01/02/2021 - Roberts M

additional caller scott 3606069877 possible drunk driver white 4 door car
lic/089kbe OR hitting multiple cars down the main street

14:14:04 01/02/2021 - Roberts M

additional caller whitney 3604704149 3 veh accident, partically blocking, unk
injuries

UNIT HISTORY

Unit Time/Date Code
3L3 14:11:01 01/02/21 ENRT
3L3 14:13:10 01/02/21 ARRV
3L3 14:14:17 01/02/21 43

3L3 14:14:50 01/02/21 VHIN
3L3 14:14:58 01/02/21 VHIN
3L3. 14:15:10 01/02/21 VHIN
3L3 14:15:35 01/02/21 VHIN
3L3 14:20:15 01/02/21 4
3L3 14:37:59 01/02/21 43
3L3 14:47:15 01/02/21 CMPL
8821 14:18:00 01/02/21 ENRT
8821 14:19:52 01/02/21 ARRV
B8B21 14:23:22 01/02/21 43
8821 14:27:44 01/02/21 43
8821 14:35:43 01/02/21 43
8821 14:43:16 01/02/21 43
8821 14:47:23 01/02/21 CMPL
DLA 14:12:28 01/02/21 ASSG
DLA 14:47:23 01/02/21 CMPL
DLF 14:12:28 01/02/21 ASSG
DLF 14:47:23 01/02/21 CMPL
MEDIX 14:12:28 01/02/21 ASSG
MEDIX 14:47:23 01/02/21 CMPL

RESPONDING OFFICERS

8821 8821

Call ID 210102038 Page 2 of 3
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 18 of 82

02/11/21 PACIFIC COUNTY SHERIFF 618
10:00 CALL DETAIL REPORT Page: 3
DLA DLA

DLLF DLE

MEDIX MEDIX

INVOLVEMENTS

Type Record# Date Description Relationship

NM 28963 01/02/21 CRANBERRY CASTLE 408 PACI Complainant

EM 21010209 01/02/21 PD Accident 21010209 Initiating Call

LW 21-0007L 01/02/21 PD Accident 21-0007L 111 PA Initiating Call

WRECKER HISTORY

Dispatcher Wrecker Time/Date Code Description

Vanderpool HILL 14:23:32 01/02/21 ENRT

Call ID 210102038 Page 3 of 3
Opinions Courts Programs & Organizations Resources

Rules for Appeal of Decisions of Courts of Limited Jurisdiction

RULE 6.3.3
TRANSCRIPT OF ELECTRONIC RECORD

(a} Transcript by Appellant. Unless the superior court
orders otherwise, the appellant shall transcribe the
electronic recording of proceedings as provided in section
{¢} of this rule. The transcript shall be filed and served
with the appellant's brief.

() Transcript by Respondent. If the respondent wishes
to add te or challenge the transcript of the recording of
praceedings, the respondent shall file and serve an
additional transcript with the respondent's brief.

(<} Content of Transcript. The transcript shall contain
erly those sortions of the electronic recording necessary to
present the issues raised on appeal. If the appeilant
intends ta urge that a verdict or finding of fact is nat
suaported by the evidence, the appellant shail incluce in
the transcript all testimony relevant to the disputed
verdict or finding. if the appellant intends to urge that
the court erred in giving or failing to give aq instruction,
the appellant shall include all objections to the
instructions given and refused and the court's rulings.

(dy Transcript Generally.

(¥} Form. The transcript may be printed, typed, or
neatly nafdwritten, and need not be certified by 2 notary
public.

(Z} Certification. Fhe person preparing the transcript
shail certify or declare under penalty of perjury that it is
true and correct in accordance with ROW SA.72.685 of any law
amendatory thereof.

(33 Disgutes. Disputes concerning the completeness cr
accuracy oF the transcript shall be decided by tne superior
court.

(e} Additional Transccipt. The superior court may order
a@ party to prepare an additional transcript.

(f) No Transcript if Agreed Record. No transcript shali
be required if the parties have agreed on a written form of
record approved by the court of limited jurisdiction,
gursusnt ta cule 6.1(b}.

(zg) Cost of Transcript. Any cost or expense in preparing
a transcript shall be borne by the party providing it. The
expense may be allowed ag a cost in accordance with rule
5.3.

{amended effective June 25, 2062]

Glick here te view in 3 PDR

Piss is Pita geet eh ie ine) pile thg
pe] Cee : Pee eet ae
Sty a ae era = cal re
CeCe bau es as
eas ui Sek Acces

et
Py
ay

Pea en le
Dern se oe Me

Maspeth pms =e Plats

beh ed eee ete oper lar
Les fire ite eed

Pierre Balen

Cle tele

Dace

Peter eared Lage oy Micah bd

Case 3:23-cv-05195-JCC Document14 _ Filed 06/12/23
Frank Doherty. You can contact his by emailing at nancy.doherty@gmail.com. Zip code

98671 (Washougal) average rent price for two bedrooms is $1,410 per month. The
popularity rank for the name Dale was 1259 in the US in 2020, the Social Security
Administration's data shows

Ads by BeenVerified

Background Search: Dale W D. | Search Report

Search for Criminal & Traffic Records, Bankruptcies,
Assets, Associates, & more

Dale W Doherty Phone Numbers

(360) 606-9877 Cellphone by New Cingular Wireless Pcs, LLC, one person associated
(360) 607-8155 Cellphone by New Cingular Wireless Pcs, LLC, one person associated
QO
O

(360) 835-5218 Landline phone by Frontier Communications Northwest, Inc,
persons associated

Ads by BeenVerified

Background Report

Click here to view details

Dale W Doherty Mail

nancy.doherty@gmail.com

Persons Associated with Address 4017 Liedtke
Way

Frank Doherty Details

(360) 835-5218

Persons Associated with Phone (360) 606-9877

Nancy Doherty [ cet |

Age 69
5 Bear Prairie Rd_ Washougal

Persons Associated with Phone (360) 607-8155

Nancy Doherty | Details

Page 20 of 82

27
9/19/22, 10:06 am CASE 3:23-CV-05195-JE Cs mala QCD AMol Ananda MEG AOL 2 ben, WEYAD ROR IspbKR2

= 2s

|
A\ No results were found for Amanda Menitt with your specified filters: State: Washington, City: Long Beach.
Try a more general search, or view similar matches below.

People Search > Mcnitt > Amanda Mcnitt > Washington

_» Amanda Mcnitt in Washington

Amanda Mcnitt found in Olympia, Lacey and Tacoma.

BROWSE LOCATIONS

Lacey, WA (1) >
Olympia, WA (2) >
Tacoma, WA (1) >
Refine Your Search Results Sort by Relevance Vv All Filters 2

Amanda D Mcnitt, 34
RESIDES IN OLYMPIA, WA
Lived In Boise [D

Related To Danie! Mcniit, Alexis Mcnitt, Carol Menitt, N Mcnitt
Includes » Address(3) » Phone(3) » Email(2)

Carol C Mcnitt, 59

RESIDES IN OLYMPIA, WA
Lived In Boise ID, Lacey WA, Niceville FL, Eglin Afb FL

Related To Daniel Menitt, Alexis Mcnitt, N Mcnitt
https:/Avww.spokeo.com/Amanda-Mcnitt/Washington/Long-Beach?loaded=1 1/2
Page 22 of 82

Filed 06/12/23

23-cv-05195-JCC Document 14

Case 3

L/L =PUYV Y=ALPY=PUIY YE Z=NUY YE eS +9] UUGU+0901J= Id Y LP SPIE YY OY-VUY SAY Y GMOS YU WSS WIG IV FOE | BUG SUS [POAC OF] | PDO IY pe nag ra a a A SPAN

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WOAHO/SA.LLH) @ LYOdaY N3dO

(ealA1es-jo-suayAUeduioo/wooajdoadyaayoys:sdyy) aayas Jo sual wos'ajdosyy9euy 2z07z-cb0z WBUAdOD @

*(Aayjod-koeatid/Auedwoo/wos'e|doadysayoys:sdyy) Aayjog AoeAlg pue (99/119S-}0-SuusE/AUdLIOD/WIOOa|doedyoayay/:sdjyy) Ao1Atag Jo SW) INO peal pue (s}uop-sop/AuRdwos/wosajdoadyoayo//:sdyyy) $},U0Q
pue $,0q uno aes ‘ea1A1ag eu] JO Sesn siqemojje pue paliqiyord jo saydwexs UoWUIOO pue LOWeUOJU] |BUOHIPpe 40-4 "yLiO} OS pue ‘BujUaa.s [evOHeoNpe (g) ‘Bulusasos yUeUa} (y) ‘Bulusai9s aouBuNsU! (¢) ‘Buluasios juewAojdwa (z) ‘syaayo ypasa Jawnsuod (|) :suoseas
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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 23 of 82

Form B18 (Official Form 18)(12/03)

United States Bankruptcy Court
Western District of Washington
1717 Pacific Avenue
Suite 2100
Tacoma, WA 98402

Case No. 05-40990—PBS
Chapter 7

In re: Debtor(s) (name(s) used by the Debtor(s) in the last 6 years, including married, maiden, trade, and address):

Nancy B MeNitt

aka Nancy Prunty

PO Box 1628

Ocean Park, WA 98640

Social Security No.:
XXX—-xx—1884

Employer's Tax I.D. No.:

DISCHARGE OF DEBTOR

The Debtor(s) filed a Chapter 7 case on 2/3/05. It appearing that the Debtor is entitled to a discharge,

IT IS ORDERED:
The Debtor is granted a discharge under 11 U.S.C. § 727.

BY THE COURT
Dated: 5/9/05 Paul B Snyder

United States Bankruptcy Judge

SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 24 of 82

Dae CERTIFICATE OF SERVICE

11487 Sunset Hills Road
Reston, Virginia 20190-5234

District/off: 0981-3 User: admin Page 1 of 1 Date Revd: May 09, 2005
Case: 05-40990 Form ID: bis Total Served: 6

The following entities were served by first class mail on May 11, 2005.
db

+Nancy B McNitt, PO Box 1628, Ocean Park, WA 98640-1628
aty +Thomas D Neeleman, 9 Exchange Place Ste 417, Salt Lake City, UT 84111-2756
tr +Don Thacker, 1115 Esther St #B, Vancouver, WA 98660-2891
ust +US Trustee, 700 Stewart St Ste 5103, Seattle, WA 98101-1271
49575170 +David 0. Prunty, 2508 N. Washington, Tacoma, WA 98406-5842

49575171 Key Bank, 200 Bolstad Ave E, Long Beach, WA 98631

The following entities were served by electronic transmission.
NONE. TOTAL: 0

*#k%ek* BYPASSED RECIPIENTS *****
NONE. TOTAL: 0

Addresses marked ‘+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social

Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.

Date: May 11, 2005 Signature:
9/17/22, 2:39pm CASE 3:23-Cv-05195-JICC = Deda aiitelibng BEALE WM didd 2Googid tage 25 Of 82

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Cranberry Castle, 111 Pacific Ave S, Long Beach, WA, Antiques 3.8 8 Google reviews
Cranberry Castle. Rated 4.5 / 5from 2 reviews yelp. 111 Pacific Ave S Long BeachWA98631. Gift shop in Long Beach, Washington

(360) 642-8966. Claim this business.
Address: 304 Pacific Ave S B, Long Beach, WA 98631

https://www.mapquest.com > ...» Long Beach

Cranberry Castle, 600 Pacific Ave S, Long Beach, WA

Get directions, reviews and information for Cranberry Castle in Long Beach, WA. ... Cranberry
Castle. 600 Pacific Ave S Long BeachWA98631. (360) 642-3088.

Phone: (360) 642-3088

Suggest an edit - Own this business?

Add missing information

Add websit
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Cranberry Castle - Long Beach, WA - Foursquare

3 visitors have checked in at Cranberry Castle.

Questions & answers
See all questions (4)

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Cranberry Castle - Gift Shop in Long Beach, Washington - Manta

Get information, directions, products, services, phone numbers, and reviews on Cranberry

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selection.”

Castle in Long Beach, undefined Discover more Gift, Noveity, ...
z "Pricy but super cute clothes"

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About this data

https://maps.roadtrippers.com » US » Washington

Cranberry Castle, Long Beach - WA - Map | Roadirippers
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business on Yelp. 304 Pacific Ave S Long Beach, Washington, USA.

https://www.yellowpages.com > long-beach-wa > mip

Cranberry Castle - Long Beach - Yellow Pages
Get reviews, hours, directions, coupons and more for Cranberry Castle. ... Details. Address: 304
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9/17/22, 2:30 pm Case 3:23-cv-05195-JCC Documeshedlary chhedceRldsd#ah Page 26 of 82

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Back to web results for Cranberry Castle

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Open 24 hours

Can't find what you are looking for?

ADD A MISSING PLACE

Looking for something different?

See web results

Tumwater, Washington
Based on your past activity - Learn more

Help Sendfeedback Privacy Terms

a “aH:

Cranberry Castle

Directions Save

3.8 8 Google reviews
Gift shop in Long Beach, Washington

Address: 304 Pacific Ave S B, Long Beach, WA 98631
Phone: (360) 642-3088

Suggest an edit - Own this business?

Add missing information
Add website

Questions & answers

. Ask a question

See all questions (4)
Review summary © Write a review

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"The store is a little tight inside but that's okay, more selection”

"Pricy but super cute clothes"

Google reviews

ee Joan Owens
“22 reviews: 2 photos

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Pricy but super cute clothes

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Jeff Fisher

Local Guide - 67 reviews: 1 photo
8 years ago

Cranberry Castle is one of the many tourist shops along the downtown
promenade. it may be the most affordable though! Seriously low prices on
everything! They had full sweat suits with a bitchin' tiger on them for only
$10! The store is a .. More

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Page 27 of 82

Filed 06/12/23

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 28 of 82

4s, MASON COUNTY
. SHERIFF'S OFFICE

Incident Report for Case 12-06589

Nature: 16.Drug Law Address: N BUCKHORN WAY
Location: L079 Hoodsport WA 98548
Offense Codes:
Received By: Riffle,Barbara How Received: T Agency: MCS
Responding Officers:
Responsible Officers: Birklid,Nathan Disposition: ACT 05/22/12
When Reported: 20:52:55 05/22/12 Occurred Between: 20:52:47 05/22/12 and 20:52:47 05/22/12
Assigned To: Detail: Date Assigned: **/**/**
Status: Status Date: **/**/** Due Date: **/**/**

Complainant: 1333

Last: Birklid First: Nathan Mid: A
DOB: 10/29/82 Dr Lice: Address: 322 N 3RD ST; PO Box 1037
Race: W Sex: M Phene: (360)427-9670 City: Shelton, WA 98584
x313
Alert Codes:

MCSO Mason County Sheriff's Office

Offense Codes

Reported: CSSO Cont Substance/ Observed:
Sale/Manu/Other THIS COPY WAS PREPARED BY THE MASON COUNTY SHERIFF'S OFFICE C'.
Additional Offense: CSSO Cont Substance/ (ON) Z//3/, z- FORTHE OFFICIAL USE OF( NAME) Chung
Sale/Manu/Other Acdoa~___ (abtttt) a
FORTHE PURPOSE OF St |-
Circumstances
: . AND WAY NOT BE REVEALED TO ANY OTHER TROWIDUAL AND / OH AGENCY
Responding Officers: Unit : OR USED FOR ANY OTHER PURPOSE THAN STATED WITHOUT THE CONSENT
Birklid, Nathan 1830 YH SSASOW COUNTY SHERIFF'S OFFICE
Responsible Officer: Birklid,Nathan Agency: MCS
Received By: Riffle,Barbara Last Radio Log: 20:56:28 05/22/12 CM
How Received: T Telephone Clearance:
When Reported: 20:52:55 05/22/12 Disposition: ACT Date: 05/22/12
Judicial Status: Occurred between: 20:52:47 05/22/12

Mise Entry: and: 20:52:47 05/22/12

05/22/12
Case 3:23-cv-05195-JCC Document 14

Filed 06/12/23

Page 29 of 8

2

Incident Report for Case 12-06589 Page 2 of 4
Modus Operandi: Description : Method :
Involvements

Date Type Description

05/22/12 Name Birklid, Nathan A (Dep) Complainant

05/22/12 Name Clary, Jacob Michael suspect

05/22/12 Name Cuzick, Tylan Karl mentioned

05/22/12 Cad Call 20:52:55 05/22/12 16.Diug Law Initiating Call

05/22/12
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 30 of 82

Incident Report for Case 12-06589 Page 3 of 4

Name Involvements:

suspect : 26926

Last: Clary First: Jacob Mid: Michael
DOB: eames Dr Lic: Address: 251 Boardwalk
a
Race: W Sex: M Phone: (360)432-8920 City: Shelton, WA 98584
Complainant : 1333
Last: Birklid First: Nathan Mid: A
DOB: 10/29/82 Dr Lie: Address: 322 N 3RD ST; PO Box 1037
Race: W Sex: M Phone: (360)427-9670 City: Shelton, WA 98584
x313

mentioned : 75412

Last: Cuzick First: Tylan Mid: Karl
DOB: Qa Dr Lic: GS Address: 117 N JORSTED CREEK RD
cae,
Race: W Sex: M _ Phone: CEST City: Lilliwaup, WA 98555

cell

05/22/12
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 31 of 82

Incident Report for Case 12-06589 Page 4 of 4

Narrative
MASON COUNTY SHERIFF'S OFFICE

At approximately 1756 hrs on 5/22/2012 I contacted a vehicle on Buckhorn Way in
Hoodsport. ‘Driver of the vehicle identified as Jacob M. Clary(DOB QamaiiMm)
had outstanding felony warrants for his arrest.

While conducting a search incident to arrest on the subjects person I located
some marijuana in his right cargo pocket for which the subject was in possession
of a medical marijuana form. Further Jacob advised he had a bag containing a
white residue under his seat. Jacob gave me permission to recover the bag
underneath his drivers seat which he advised was given to him by Tylan Cuzik
because the police had served a search warrant at his residence earlier that day
and wanted someone to hold the bag for him.

Based on the fact the vehicle was being impounded and the Jacob was being booked
into jail for his outstanding warrants I recovered the substances from Jacob and
placing the items into evidence for destruction.

Law Enforcement position on release: Would the safety of an individual or the
public be threatened if the suspect is released on bail or recognizance?
Yes [ ] No [ ]

I declare under penalty of perjury under the laws of the State of Washington
that the foregoing facts and attached arresting agency affidavit are true and
correct to the best of my knowledge (RCW 9A.72.085) and I am entering my
authorized user ID and password to authenticate it.

Dated: 12/22/2012
Name/Per#: N. Birklid/1333

Signed in Mason County, Washington by:

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Signature of Deputy

: Aebprbea oe.

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05/22/12
Case 3:23-cv-05195-JCC

STATE OF WASHINGTON .-
DEPARTMENT OF CORRECTIONS

The Honorable Richard Strophy

Document 14

Filed 06/12/23 Page 32 of 82

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BLED
THURSTON COUNTY. WA

2012 JUN 19 AM 9:53
BETTY J. GOULD. CLERK

COURT- SPECIAL
SUPERVISION CLOSURE.

pate: 5/21/2012

REPORT'TO: Thurston County Superior Court DOC NUMBER: 250315
OFFENDER NAME: CASTRO, Johnny R.
aka: Castro, Jonny R pos: 11/10/1950
CRIME: Murder 1 . COUNTY CAUSE#: 94-1-01049-6(AC)
CONVICTION: Felony ‘ Pw
SENTENCE: 24 months Community Custody = yatmorsEnTENCE: 5/12/1995
LASTKNOWN 5-4. 330 PICADILLY DR
appress Shelton, WA 98584 TERMINATION DATE: 5/10/2012
MAILING AppREsS: §.E. 330 PICADILLY DR STATUS: Closed
: Shelton, WA 98584 CLASSIFICATION: HNV
Check Only One Box:

Community Custody Recalculation: DOC has recalculated the offender's community custody
(] range and his/her term of community custody has now expired, Therefore, DOC has closed
supervision interest in this cause.

o Supervision Eligibility: The above cause has been screened and is not eligible for supervision by
the Department of Corrections. Therefore, we have closed supervision Interest i in this cause.

Sentence End Date: The offender has finished the above cause’s period.of supervision: Therefore
&] we have closed supervision interest in this cause. The following Information reflects the offender's
compliance with thé indicated Court ordered requirements.

If notified by the Court, a Community Corrections Officer will be present to testify as to the reported

violations.

DOC 09-265 (Rev. 08/03/11} . 1

NOC 310.100, DOC 350.200, DOC 350,380
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 33 of 82

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THUR STON COOH Te wa
202 JUN 19 AM 9:53

BETTY J. GOULD, CLERK

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. ROA ry les eo
STATE OF WASHINGTON ~eSS/G7 ae
DEPARTMENT OF CORRECTIONS _ COURT- SPECIAL
SUPERVISION CLOSURE
_ The Honorable Daniel J Berschauer . pate: 5/22/2012
: REPORT TOs Thurston Coanty Superior Court DOCNUMBER: 250315
OFFENDER NAME: CASTRO, Johnny R.
aka: Castro, Jonny R. pos: 11/10/1950
cRIME: Rape of a Child 3 COUNTY CAUSE#: 94-1-00582-4(AB) ~
conviction: Felony ox
SENTENCE: eA amonths Community Custody — yargopsmnTENce: 2/1/1995
LAST KNOWN 5-E. 330 PICADILLY DR
ADDRESS Shelton, WA 98584 TERMINATIONDATE: 5/22/2012
MAILING ADDRESS: §.E, 330 PICADILLY DR . ' sratus: Closed
Shelton, WA 98584 CLASSIFICATION: HNV
Check Only One Box:

Community Custody Recalculation: DOC has recatculated the offender's community custody
[1] range and his/her term of community custody has now expired. Therefore, DOC has closed
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Sentence End Date: The offender has finished the above cause’s period of supervision. Therefore
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If notified by the Court, a Community Corrections Officer will be present to testify as to the reported
violations.

DOG 09-265 (Rev. 08/03/11) : 4 DOG 310.100, DOG 350.200, DOC 350.380
Case 3:23-cv-05195-JCC Document 14

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Filed 06/12/23

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10/22/20

Court Report
| Person
| Name ‘DOB Gender Race
| JOHN RAY CASTRO 11/10/1950 MALE HISPANI!
| SSN DL# DL State SiD # FRI #
| CASTRIR50708 WA WA10744621 948430G
Height Weight fair Eyes-
5'6" 172 BROWN BROWN
' Address Phone
330 SE PICADILLY DR
SHELTON, WA 98584 (360) 426-6122
| AKA/Moniker
|
| Dacket#/Charges |
|
Case Number Status Category Officer
Logg1gp4 ll VOMT niTERVIEWED PRE TRIAL
Booking Number | Docket Number | Sentence Date Sentence Expiration Date
C0165562 9411496
Risk Assessment Supervision Level Officer Safety
Crime Type Crime Section Crime Description
F 9A.32..030 MURDER 1ST DEGREE
F 9A.44.,079 RAPE OF A CHILD 3RD DEGREE (OPPOSITE SEX)
Release Recommendations/Conditions Of
Date Recommendation Staff
10/27/2010 RELEASE NOT RECOMMENDED MCINTOSH, KELLEY

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Court Report
Criminal History |
Date Description Agency
09/14/1994 F 9A.32.030 MURDER 1ST DEGREE THURSTON COUNTY SHERIFFS
(ATTEMPT) OFFICE/94-1-1049-6
05/08/1994 F 9A.44.079 RAPE OF A CHILD 3RD THURSTON COUNTY SHERIFFS
DEGREE (OPPOSITE SEX) OFFICE/94-1-582-4
10/21/1987 GM 9A,36.041 ASSAULT 4TH DEGREE THURSTON COUNTY SHERIFFS
OFFICE
12/02/1981 T 46.61.5249 NEGLIGENT DRIVING IN OLYMPIA POLICE DEPARTMENT
THE Ist DEGREE —
O3/L1/1979 T 46.61.504 PHYSICAL CONTROL OLYMPIA POLICE DEPARTMENT
04/06/1977 T 46.61.5249 NEGLIGENT DRIVING IN OLYMPIA POLICE DEPARTMENT
THE lst DEGREE
12/13/1975 F 69.56.401 UPCS (UNSPECIFIED) THURSTON COUNTY SHERIFFS
OFFICE
02/13/1971 FTA OLYMPIA POLICE DEPARTMENT
06/18/1969 F 9A.36.031 ASSAULT 3RD DEGREE THURSTON COUNTY SHERIFFS
OFFICE

Narratives (attached)
1, COURT REPORT

Page 2 of 2

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 36 of 82

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Order Denvinn Wetian Daa EYL EE
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SUPERIOR COURT OF WASHINGTON |
IN AND FOR THURSTON COUNTY
HOMES FIRST!, No. 16-2-01936-34
Plaintiff/ Petitioner,
vs. ORDER DENYING MOTION FOR

RECONSIDERATION AND STRIKING HEARING

CANDACE ARDEN,
Defendant/ Respondent. Clerk’s Action Required

This matter came before the Court upon Defendant’s Motion for Reconsideration filed
herein on February 14, 2020. This matter was decided without oral argument. The Court has
reviewed all relevant pleadings. It is hereby ORDERED:

Defendant’s Motion for Reconsideration is DENIED and the hearing set for March 13,

2020, at 9:00 a.m. is stricken.

Honorable Judge Chris Lanese

Dated:27 of February, 2020

THURSTON COUNTY. SUPERIOR COURT
2000 Lakeridge Dr. S.W., Bldg 2
Olympia, WA 98502
(360) 786-5560
Fax: (360) 754-4060

Order- Page 1

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 37 of 82

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CO) EXPEDITE (if filing within 5 court days of hearing) Mag . 4)
C Hearing is set: : 5 2p
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SUPERIOR COURT OF WASHINGTON
FOR THURSTON COUNTY -
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2D» 4 Plaintif(s) | ,FFIDAVIT/DECLARATION OF
Me | LL SERVICE
J LEME
( Defendant(s)
DECLARATION
The undersigned is now and at all times herein mentioned was a citizen of the United States and resident of

the State of Washington, over the age of eighteen years, not a party fo or interested in the above entitled
action and competent to be a witness therein.
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| declare under penalty of perjury under f Jaws of the ye of Washington that on BAL
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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 38 of 82

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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

IN AND FOR THE COUNTY OF THURSTON

HOMES FIRST,
No. 16-2-01936-34
Plaintiff,
Affidavit in support of Change of
Vs. Venue and Denial of Plaintiff's

Motion to Dismiss
Candace M. Arden,

Pm mee” Nee near” Neca See ne” ee See”

Defendant.

NOW COMES, Defendant, Candace M. Arden, and in further answer to
Plaintiff's Motion to Dismiss, makes the following Affidavit:
STATE OF WASHINGTON)
COUNTY OF KING *

NOW COMES THE DEFENDANT, Candace Arden, and after having been
duly sworn upon oath, deposes and states the following:

|. That the case is tolled and has been since Defendant’s PTSD as a result of
the intense trauma caused by Homes First, HUD of Thurston County, The Olympia
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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 39 of 82

tenants at 501 18™ avenue SE, Olympia, WA. The landlord knew that Jabulina
Lanum, aka Munson, Osgood, Richardson, etc. was pregnant and that this would add
another 3 bedrooms to the 501 residence for a total of $975 leaving the 503 voucher
of $700 available to purchase a new complex, which they did. This complex has an
18 year history of 911 calls and disturbances. I paid $122 to get the 911 cad call
which went back only 5 years. “What a Scream!” The manager Lied about
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First and its employees. I advised Homes First, Olympia Police Department, Child
Protective Services Department of Social and Health Services and yet nothing was

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“REPORTING THE RAPE OF A
CHILD IS MANDATORY. I REPEAT,
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2. The record clearly shows that the Defendant won the illegal and unlawful

detainer action brought against her by Homes First on June 3, 2016, but defendant

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 40 of 82

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conduct by Homes First, Olympia Police Department, etc.

Defendant agreed to move on and by the date set and agreed upon, and the
Order dismissing Plaintiffs action and allowing defendant’s claims was signed by
Judge on 6/3/2016. Defendant moved on the 10% as agreed, but the Order was not
entered until June 17, 2016 by plaintiff's attorney.

DATED this 4 7% day of March, 2020.

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SUBSSCRIBED AND SWORN TO before me this if day of March, 2020.

Oy wt Wh
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NOTARY PUBLIC in and for the
County of Thurston, State of
Washington, residing at Jummaudlene>
My Commission expires on #/-/7-7)J4

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 42 of 82

2/9 (2016
Video of Selfie dated 2/ t 7/16

4

8:07 a.m. My phone was dead this morning so I had to charge it but boy that
little girl just screamed. They took her back to the panic room. It was bad.

It was bad.

8:20 a.m. Man it’s Bad. Dani screams. This has gone on for 13 minutes
8:25 a.m. Kids Yelling, thumping and stomping..Boy yells Dani

10:45 a.m. The girl is Screeching and she is crying. What a nightmare. This
goes on throughout the whole day

10:58 a.m. Dani screaming, screaming, screaming, screaming, scream for
Dani, Screaming, Scream for Dani-- Dani screaming scream for Dani,
slapping, I hear a punch with a fist, screaming, Dani is screaming and
crying, scrreaming, screaming, a male voice is heard, It sounds like Josh —
(its ugly) Jab says I told you don’t touch her. Josh says, “if you need me to
get out, let me know”. Jab says, “I don’t care, she’s allowed to be in my
room. Josh, if you need me to get out let me. Jab says , “Don’t touch me...
... Josh says something. And Jabulina says, There is slapping. “Mr. I like a
steak not a burger... ... Jab, Don’t touch her Don’t touch me. You don’t
have the right to touch her period. Second, watch your mouth. You her me.
You do not use that word in this house period.

11:39 a.m. Um. the screaming started at 8:30 this morning of the little Dani
girl. And I have not felt very good and I am sick to my stomach and I am
really sick to my stomach now, but of all the times that I tried to catch the
screaming and the crying it was maybe about mid morning or around ten,
8:30 started 8;30 around ten, 10:30 or so the little girl was screaming Im
naked. I thought I heard her say I’m naked and she was screeching and

crying

5:06 p.m. Sounds of bumping and yelling — I can hear Jab and Josh yelling
at each other. It sounds like people are being hit and slapped. I am not
sure if there is crying. They are back in the panic room. I can hear him

yelling, Joshua Lanum yelling and I can hear Jabulina yelling. It doesn’t
sound good.

5:20
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 43 of 82

5:31 p.m, The baby girl, well there is two of them now, Dani is just
screeching and crying again. I am going to stop.

5:36 p.m. The little is just screeching right now and I can hear Josh in the
background in the panic room, but it’s faint but I am sitting on my couch
and I can hear the blood curdling screams of that Dani girl. Now I am

going to call 911 because I don’t know if they got a gun. Today has been

one of those intense days. . ..

5:38 p.m. It sounds like somebody has been slapped all day. The little girl
is screeching and crying again and they are all in the panic room — trust me.

5:41 p.m. A lot of thumping and stomping — it’s not very loud, but boy they
are fighting. I can hear him yelling in the background— Wow. That much I
can. One thing is that the car has been parked out front and it hasn’t moved
not since Friday morning and I just heard a scream a thump and a scream
andd beyond that -- well it’s bad. I can hear a smoke alarm. I thought I
heard the sound of fists. They are fighting. There is definitely domestic

violence tonight... . .

6:11 p.m. The little girl has just screamed right now. She is screaming and
crying. You can hear Joshua in the background. It sounds like she is being
slapped. It sounds like she is being slapped. They are in the panic room

and can’t quite tell what is going on. This going to be a bad night and I can

hear strange noises. I am going to stop.

6:15 a.m. The little girl just screeched again -- she did. I am going to stop
right not. This is a nightmare.

6:28 p.m. Fighting. I can hear Josh. The little girl is screaming and 1 can
hear josh in the background. The mom is screaming in the background.

6:42 p.m. The girl is screeching and there is a lot of thunder hooves going
on. I don’t know what is really going on. Joshua Lanum is very vocal.

7:12 p.m. The little girls has screamed — not good.

8:30 p.m. It hasbeen very quite for the past hour. Thank God.
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 44 of 82

1/10/2019 Encrypted Message

Sign Out

Candace Arden

oR Sharon Bonn <SharonB@ccmh1.com> ® Reply all | ¥
5" Today, 9:01 AM
Doug.Bales@co,. Thurston. WA.US; candacearden@gmail.com ¥

Hello Mr Bales:

| am writing to you at the request of my client Candace Arden. Per Candace, she has a hearing schedule with Judge Lanese for tomorrow
1/11/19.

{t is unclear to me what this hearing is about specifically; However, Candace has requested that | as her mental health counselor, advocate for
a leave of absence for her in regard to this hearing (if possible) due to adverse affects on her mental health.

Candace is adamant that she wants to see this process through but is hoping hearing can be detayed until August of this year. Please feel free
to respond to this email or call me at (503)438-2140 with any questions or if Candace has certain legal and/or time sensitive requirements that
she may not be fully aware of.

Best,
Sharon L. Bonn

Sharon L. Bonn, MSW, CSWA
Mental Health Counselor II

Intensive Behavioral Health Services
Columbia Community Mental Health
Phone: 503-438-2140

Fax: 503-438-2194

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 45 of 82

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

IN AND FOR THE COUNTY OF THURSTON

HOMES FIRST,
No. 16-2-01936-34
Plaintiff,
Affidavit in support of Change of
Vs. Venue and Denial of Plaintiffs

Motion to Dismiss
Candace M. Arden,

Defendant.

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NOW COMES, Defendant, Candace M. Arden, and in further answer to
Plaintiff's Motion to Dismiss, makes the following Affidavit:

STATE OF WASHINGTON)
COUNTY OF KING *

NOW COMES THE DEFENDANT, Candace Arden, and after having been
duly sworn upon oath, deposes and states the following:

l. That the case is tolled and has been since Defendant’s PTSD as a result of
the intense trauma caused by Homes First, HUD of Thurston County, The Olympia
Police Department, Child Protective Services, and others later to be enjoined as a
result of the constructive eviction of Defendant based upon deliberate, false and
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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 46 of 82

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 47 of 82

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DATED this Ltt day of March, 2020.

SUBSSCRIBED AND SWORN TO before me this Lb fe day of March, 2020.

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 48 of 82
1/10/2019 Encrypted Message

Sign Out

Candace Arden

Sharon Bonn <SharonB@ccmh1.com> Reply all | ¥
Todsy, 9:01 AM
Doug.Bales@co. Thurston.WA.US,; candacearden@gmail.com ¥

53

Hello Mr Bales:

| am writing to you at the request of my client Candace Arden. Per Candace, she has a hearing schedule with Judge Lanese for tomorrow
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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 55 of 82

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Base Excess, Arterial -10.8 (L) -2.0 - 2.0 mmol/L
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O02 Saturation, Arterial 100 95 - 100 %
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Culture; Blood -
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Culture, Blood
Collection Time: 01/02/21 3:19 PM
Specimen: Peripheral Blood
Result Value Ref Range

Culture

No growth: Monitored continually by instrument for 5 days

Arden, Candace (MR # 20017650304) Printed by [142105110] at 1/11/21 3:01 PM

Page 9
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 58 of 82

TO: Clerk of the Supreme Court
FROM: Candace Arden, Appellant, Case No. 10105 - 6
EMAIL Address: Supreme @Courts.wa.gov,

William Penoyar, penoyarlaw@comcast.net
DATE: August 22, 2022

Please Find the attached Exhibit 1. Also note That on August
18, 2022, at 2:18 pm., that a MEDIX Ambulance pulled into the
Ocean View parking lot, Seaside, Oregon, and parked on a Slant
right next to me. | recorded their presence and abnormal
parking in a slant position next to me (Also note that they do
park here waiting for ambulance calls). They have done this to
me before, especially pulling out only to immediately return,
position their ambulance at an angel, only to stare me down.

Upon review of the 911 Cad Call report and CD, Ocean Beach
Hospital Staff, Medix, and witnesses, bot living, and presumed
dead) the evidence is clear, this accident was staged to kill.

Also, during the typing of my statement, the library had many
interruptions in their computer internet connection. | am
endeavoring to resolve my problems in this area. Also, there is
a transcriptionist who has agreed to perform the necessary
transcription of two CD’s and the two DVD’s, but | cannot
afford to pay her up front. | need to prepare a cost bill for her.
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 59 of 82

Yes, | do need time to review my health problems as a result of
this accident. It is psychologically devastating to realize the
calculated murder was FORGED to the extent that they state
that they have no access to my health records, especially when
they are in the ETC system and have access to ALL OF MY
MEDICAL HISTORY from day 1, including my Polst.

Thank you for your time. | shall make a decision shortly as to
what | should do next.

Forgive me.

Candace Arden
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 60 of 8Page 1 of 1

From: Karen Hare & Nicole Eusebio <nikair@nwol.net>
To: monalisa <monalisa@toledotel.com>

Ce: Pat Wertheim <foridents@aol.com>

Date: Monday, July 30, 2001 5:39 PM

Subject: Re: Meeting

Candace, good to hear from you. the time window you state is not good for me as my brother will be coming
to visit and i have a very rigorous on-call schedule since we just lost one of our colleagues. (Vance).
perhaps we could work on this a little more unless there is some reason to move "heaven and earth"? also,
as far as travel goes...i am extremely nervous about travel and have to have some time to "prepare". the last
trip to miami is the first time in YEARS that i have flown. i do not like flying and need at least one full day to
recover from the drugs. the travel is not easy for me and we must work around this for me to be comfortable
and open.

-----Original Message-----

From: monalisa <monalisa@toledotel.com>

To: Pat Wertheim <foridents@aol.com>; Karen Hare <Nikair@nwol.net>
Date: Monday, July 30, 2007 11:49 AM

Subject: Meeting

Dear Karen & Pat:

Karen, | greatly appreciate your zeal on this project and yes | do go "Within” for information. Going
"Within" is ancient and nothing new to man.

If things go accordingly, | would like to meet both of you in Washington State on my parents farm. It
is beautiful and peaceful and the mind can be free of all encumbrances. | know, Pat, that you and
your family are moving to Arizona and | hope that the following dates may be available for you to
come. The time frame is potentially between August 4th through the 13th. Perhaps somewhere in
between these dates we can meet. | will do my best to make financial and travel arrangements for
both of you before then. Also, | will send you the different generations of the photographs of the
Lady with the Ermine showing ridge detail 1, then 2 and 3. Also, | would like you to view the CD of
the photographs and will include that as well. You both are probably computer experts and know
how to manipulate the computer image of the photographs to your benefit whereas | am totally
ignorant.

And yes, what we three are doing is important for mankind's sake, for its proof shall bring forth
meaning and purpose to the whole of life. Also, as for publishing, the knowledge that you gain from
our meeting is yours, both of you. Everything that | have to give is for the world. | do not own any of
it. | gave up that right 500 years ago -- Well -- Rights are an illusion of this earth plane and have no
grounds or merit beyond. Besides nothing is kept from man when he knows how to ge "Within" and
that is the end purpose of evolution on this Earth -- to know God from "Within".

| hope that we can all meet at our farm. {tis beautiful and | would like to show you some of
Washington's beauty, not to mention the farm on which | was raised. It is interesting. There are no
coincidences and nothing is by chance, so, be aware that you will be staying in a place called Alpha.

| fook forward to hearing from you both.
As Always,

In Humble Simplicity,
Candace M. Arden

12/1/01
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 61 of 82

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Case 3:23-cv-05195-JCC Document 14

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a & MEDICAL CLINICS

Public Hospital
District 3 of Pacific County

Board of Commissioners
Nancy Gorshe — Chairman
Sandra Stonebreaker
Madeline Moore
Ariel Smith
Kathlynn Northrup-Snyder

Chief Executive Officer
Larry Cohen

Chief Nursing Officer
Brenda Sharkey

Ocean Beach Hospital
P.O. Drawer H
ilwaco, WA 98624-0258
360-642-3181
Fax 360-642-8070

Ocean Beach Medical Group:

Nwaco Clinic
P.O. Box N
Ilwaco, WA 98624-0319
360-642-3747
Fax 360-642-3361

Naselle Clinic
P.O. Box N
Naselle, WA 98638-0186
360-484-7161
Fax 360-484-7178

Ocean Park Clinic
1501 Bay Ave, Suite 201
Ocean Park, WA 98640

360-642-6387

Fax 360-642-0064

May 5, 2021

Candance Arden
P.O. Box 51
Astoria, OR 97103

RE: Public Disclosure Request

Dear Ms. Arden,

Here is the requested information.

Filed 06/12/23

Page 62 of 82

Test name Manufacturer Name | Analyzer Model Name | Specimen Stability
D-Dimer Sysmex CA-660 4 brs.
Ethanol/Ailcohol Siemens Dimension® EXL™ T days
Lactate Siemens Dimension® EXL™ 24 bes.

We keep leftover from specimens refrigerated for 7 days or 24 hours room
temperature for coagulation samples only. We cannot do an add on if the

specimen passed the stability.

If you have any further questions, please contact me either by email or

phone.

Sincerely,

Theo Uyen
Tammie Jefferies
Executive Assistant
tiefferies(@oceanbeachhospital.com
(360) 642-3181

Our mission is to provide compassionate patient focused care for our community.
www.oceanbeachhospital.com

Case 3:23-cv-05195-JCC Document 14

‘ City of Seattle v. Allison, 148 Wash.2d 75 (2002)

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59 P.3d 85

‘

148 Wash.2d 75
Supreme Court of Washington,
En Banc.

CITY OF SEATTLE, Appellant,
v.
Fawn ALLISON, Respondent.

No. 71302-2.
|

Argued June 11, 2002.

Decided Dec. 12, 2002. [2]

Reconsideration Denied Jan. 31, 2003.

Synopsis me
Defendants were charged with driving while intoxicatéé.
The Seattle Municipal Court suppressed breath-alcohol
test results. City appealed. The Supreme Court, Madsen,
J., held that: (1) former statutory breath test rule did
not require operator to ascertain actual temperature
of simulator solution, but rather required operator, as [3]
prerequisite to obtaining sample of subject's breath,
to observe whether the temperature of the simulator
solution was 34 degrees centigrade plus or minus 0.2
degrees centigrade, and (2) breath test documents,
showing results of breath test conducted after operator
observed temperature of simulator solution was 34
degrees centigrade plus or minus 0.2 degrees centigrade
pursuant to former breath test statute, constituted a
sufficient foundation for admissibility of test results.

Reversed and remanded

4]
Sanders, J., filed a dissenting opinion in which J ohnson,
J., concurred.

Chambers, J., filed an opinion concurring in the dissent.

West Headnotes (12)

[ Automobiles
ce Conduct and Proof of Test;Foundation
or Predicate

[5}

In order to satisfy its initial burden to establish
foundation for admissibility of breath test
results, the prosecution must show that (1) the
machine was properly checked and in proper
working order at the time of the test, (2) the
chemicals used were of the correct kind and
proportion, (3) the subject had nothing in his
mouth at the time of the test, and (4) the test
was given by a qualified operator and in the
proper manner.

Cases that cite this headnote

Automobiles
e« Conduct and Proof of Test;Foundation
or Predicate

Compliance with approved breath test
procedures is a condition precedent to
admission of the test results.

1 Cases that cite this headnote

Automobiles
oe Procedure;jevidence and fact questions

Once the foundational requirements for
admissibility of breath test results are
established and the test results are admitted,
a defendant may then attack the test results
in a particular case by introducing evidence
refuting the accuracy and reliability of the test
reading.

2 Cases that cite this headnote

Automobiles
$= Conduct and Proof of Test;Foundation
or Predicate

When the protocols and existing statutory
provisions for administering breath test are
followed, there is sufficient assurance of
accuracy and reliability of the test results to
allow for general admissibility of test results.
West's RCWA 46.61.506(3).

1 Cases that cite this headnote

Criminal Law
es Review De Novo

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>

City of Seatile v. Clark-Munoz, 152 Wash.2d 38 (2004)

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93 P.3d 141

- KeyCite Red Flag - Severe Negative Treatment West Headnotes (10)

Superseded by Regulation as Stated in Ludvigsen v. City of Seattle,
Wash., December 20, 2007

152 Wash.2d 39 (i)
Supreme Court of Washington,
En Bane.

CITY OF SEATTLE, Petitioner,
v.
Wonda CLARK-MUNOZ, Respondent.
City of Seattle, Petitioner, [2]
v. ‘
Gareth Hall, Respondent.
State of Washington, Petitioner,
v. -

Ted Jagla, Respondent.

Nos. 74579-0, 74602-8, 74603-6.
|
Argued March 23, 2004.

|
Decided July 1, 2004.

Synopsis

Background: Three defendants were charged with driving
under the influence, and defense counsel in each case
moved to exclude the results of breath tests on the grounds
that the test machine thermometers were not properly
certified. The Superior Court, King County, Jeffrey M.
Ramsdell, J., suppressed the tests. Prosecutors sought
writs of review at the Court of Appeals, and the Supreme
Court consolidated and transferred review.

13]

[4]

Holdings: The Supreme Court, Chambers, J., held that:

[1] test machine thermometers were not properly certified,
and

[2] breath tests that did not comply with applicable statute

and state toxicology regulations were not admissible as
“any other competent evidence” of intoxication.

Affirmed.

Criminal Law
Ss Review De Novo

The meaning of statutes and regulations are
questions of law, to be reviewed de novo.

1 Cases that cite this headnote

Automobiles
é Conduct and Proof of Test;Foundation
or Predicate

The Supreme Court applies the standard rules
of statutory construction to state toxicology
regulations related to driving under the
influence (DUD, reading the regulations in
the context of the larger statutory and
administrative system, and avoiding strained
interpretations or absurd results. West's
RCWA 46.61.502, 46.61.504, 46.61.506(3).

4 Cases that cite this headnote

Criminal Law

oO» Reception and Admissibility of Evidence
A trial judge's ruling on the admissibility of
evidence is reviewed for abuse of discretion.

1 Cases that cite this headnote

Criminal Law

és Remand in General; Vacation
When a trial court ruling is based on a
mistaken interpretation of law, the Supreme
Court may vacate the decision or remand to
the trial court for reconsideration under the
correct standard.

Cases that cite this headnote

Automobiles
te Driving while intoxicated

Automobiles
Gs Driving while intoxicated

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Case 3:23-cv-05195-JCC Document 14

City of Seattle v. Holifield, 150 Wash.App. 213 (2069)

Filed 06/12/23 Page 65 of 82

208 P.3d 24

B KeyCite Red Flag - Severe Negative Treatment
Reversed by City of Seattle v. Holifield, Wash., October 14, 2010

150 Wash.App. 213
Court of Appeals of Washington,
Division 1.

CITY OF SEATTLE, Petitioner,
Vv.

The Honorable Gearge W. HOLIFIELD,
Seattle Municipal Court; Matthew Jacob;
John Wright; and Jacob Culley, Respondents.

'

No. 61679-0-I.

May 26, 2009.

Synopsis fee

Background: City sought writ of review of muriapal
court's suppression of breath test results for defendants
charged with driving while under the influence of alcohol
(DUD. The Superior Court, King County, Cheryl B.
Carey, denied the writ. City sought discretionary review.

Holdings: The Court of Appeals, Leach, J., held that:

[1] suppression of evidence was not an available remedy
under rule authorizing a court to dismiss a criminal
prosecution where governmental misconduct prejudiced

the rights of an accused,

[2] defendant was not prejudiced by toxicology laboratory
manager's falsification of simulator solution certificates;

[3] enforcement of city’s agreement with one of the
defendants to reduce his charge to negligent driving was
warranted; and

[4] city was entitled to a writ of review.

Reversed and remanded.

West Headnotes (12)

fl] Criminal Law

ny

[2

[3]

No ‘,
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= Review De Novo

An appellate court reviews a lower court's
interpretation of a court rule de novo.

Cases that cite this headnote

Courts
&=» Construction and application of rules in
general

Court rules are interpreted using principles of
statutory construction.

Cases that cite this headnote

Courts
é Construction and application of rules in
general

Language in a court rule that is clear does not
require or permit any construction.

Cases that cite this headnote

Courts
és Construction and application of rules in
general

Where there is no ambiguity in a court rule,
there is nothing for the court to interpret.

Cases that cite this headnote

Criminal Law
Ge» Official Action, Inaction,
Representation, Misconduct, or Bad Faith

Criminal] Law
6» Operation and extent of, and exceptions
to, the exclusionary rule in general

Dismissal should not be used as a remedy
if suppression of evidence is available and
will eliminate any prejudice caused by
governmental misconduct, but the ground for
suppressing evidence must be an independent
common law or statutory ground; it: is
not available under the rule authorizing
a court to dismiss a. criminal prosecution
where governmental misconduct prejudices
the rights of an accused. CrRLJ 8.3(b).

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Page 66 of 82

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” p0030I Beginning of Docket

Page 69 of 82

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01/29/20 16:
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Case: 9270140627 WSP CT StiD:
Name: _ NmCd:
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Case: 920140627 WSP CT Criminal Traffic
S$ 03 15 2019 Case Filed on 03/15/2019
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Ss in Room 4 with Judge WSS
s Case linked to electronic ticket 920140627
s Received eTicket 9270140627 @ 12:35 AM by designated computer
PDFD PROVIDED WITH DOCS
s Defendant Arraigned on Charge 1
s Plea/Response of Not Guilty Entered on Charge 1
WSS, CTRM 4, DEF FROM JAIL, PDFD TILLER, DPA RANDAZZO. WVS
FORMAL ARR. RESERVES COUNSEL. PC EST. CONT TO PTR.
RELEASED/PR'D WITH COND:
DOO71I More records available. DD
01/29/20 16:33:39
DD1001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID: _
Name: _ - Nmcd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI
Case: 920140627 WSP CT Criminal Traffic

03 15 2019 - SHALL NOT POSSESS/CONSUME ANY ALCOHOL OR NON- PRESCRIBED

CONTROLLED SUBSTANCE TO INCL MARIJUANA OR BE IN A
BAR/ TAVERN
- ONLY IF/WHEN CAMERA EQUIPPED PBT DEVICE IS ON DEF
DETERMINATION FOR PROBABLE CAUSE ESTABLISHED.
CONDITIONS OF RELEASE SIGNED.
COPY OF CONDITIONS SENT W/TRANSPORT OFFICER
MA: CONFIRMED
COND OF RELEASE FAXED TO MERCEDES AT S/H MONITORING PER HER
RQST .

HMP
HMP
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Ss ARR MAND: Held
Ss 03 18 2019 PTR Set for 04/10/2019 03:00 PM
s in Room 1 with Judge WSS
s Notice Issued for PTR on 04/10/2019 03:00 PM
DOO7V1I More records available. DD
01/29/20 16:33:40
DDIOOIML Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID: — oe
Name: _ . NmCd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI
Case: 9270140627 WSP CT Criminal Traffic
03 19 2019 LETTER FROM STAY HOME RE INSTALLATION OF ALC MONITORING
DEVICE. PLACED ON COND LEFT HAND SIDE OF FILE
S 03 20 2019 PCN added to case
03 22 2019 AFFIDAVIT OF MAILING-1 DVD FILED BY LCPA
03 25 2019 NOA, DEMAND FOR JTR, DEMAND FOR DISCOVERY, BILL OF
PARTICULARS, ASSERTION OF AFFIRMATIVE DEFENSE & OMNIBUS
APPLICATION FILED BY ATY TIMOTHY RUSK
LETTER FROM STAY HOME RE VIOL OF ALC MONITORING DEVICE.
PLACED ON CONF LEFT HAND SIDE OF FILE
S 03 26 2019 ATY 1 RUSK, TIMOTHY CARROLL Added as Participant
Ss on 03/26/2019
AFFIDAVIT OF MAILING-1 DVD FILED BY LCPA
04 03 2019 AFFIDAVIT OF MAILING 1 DVD FILED BY LCPA
04 05 2019 MOTION TO TRACK CRIMINAL W/INFRACTION FILED BY ATY RUSK
16234:02 WednesddyASaminag-Cs05495-JCC Document14 Filed 06/12/23 Page 70 of 82

DOO7II More records available. DDLOOOPLI
01/29/20 16:33:41
DD1001LMI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 9270140627 WSP CT StID: __
Name: — Nmcd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI

Case: 9Z0140627 WSP CT Criminal Traffic

04 10 2019 WSS,.CTRM 1, DEF, ATTY RUSK, DPA SURRATT. DEF'S MIN TO AMEND HMP

CONDITIONS OF RELEASE GRANTED. CONDITIONS AMENDED TO: HMP
- DEF NO LONGER REQUIRED TO HAVE PBT SO LONG AS HE KEEPS HMP
FUNCTIONING IID ON HIS VEHICLE, HIS PROVIDER AGREES IN HMP
WRITING TO NOTIFY THIS CRT OF ANY AND ALL IID FAILURES AND HMP
AGREES TO NOTIFY CRT IF/WHEN DEF REMOVES IID FROM HIS HMP
VEHICLE HMP
ALL OTHER CONDITIONS REMAIN IN EFFECT. BY AGREEMENT OF THE HMP
PARTIES, CONT PTR TO 5/21/19. DEF SIGNED HRG NOTICE. WVR OF  HMP
TIME FOR TRIAL SIGNED. HMP
CONDITIONS OF RELEASE SIGNED. HMP
DEFENDANT WAIVES SPEEDY TRIAL TO 8/19/19. HMP
MA: CONFIRMED HMP

SMART START IID VERIFICATION FILED. PLACED ON CONF LEFT HAND TDJ

DOO71LI More records available. DD1OOOPL
01/29/20 16:33:42
DDLOOLMI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 9270140627 WSP CT StID: _ Le
Name: Nmcd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI

Case: 920140627 WSP CT Criminal Traffic

04 10 2019 SIDE OF FILE TDI
s PTR: Held HMP
04 11 2019 LETTER FROM STAY HOME RE REMOVAL OF ALC MONITORING DEVICE. TDI
PLACED ON CONF LEFT HAND SIDE OF FILE TDI
8 04 15 2019 PTR MAND Set for 05/21/2019 10:00 AM TDI
s in Room 4 with Judge WSS TDS
05 21 2019 WSS, CTRM 4, DEF, ATTY STERNIK FOR RUSK, DPA SURRATT. BY ARP
AGREEMENT OF PARTIES CONT PTR TO 06/04/2019. DEF SIGNED ARP
NOTICE TO APPEAR. ARP
MA: CONFIRMED ARP
S PTR MAND: Held ARP
S 05 22 2019 PTR MAND Set for 06/04/2019 10:00 AM MKY
s in Room 4 with Judge RWB MKY
06 04 2019 RWB, CTRM 4, DEF, ATTY KOVAC FOR ATTY RUSK. WAIVER OF TIME ARP
DOO71I More records available. DDLOOOPI
01/29/20 16:33:43
DD1001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID: __
Name: _ _ Nmcd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI
Case: 920140627 WSP CT Criminal Traffic
06 04 2019 FOR TRIAL SIGNED. BY AGREEMENT OF PARTIES CONT PTR TO ARP
08/20/2019. DEF SIGNED NOTICE TO APPEAR. ARP
DEFENDANT WAIVES SPEEDY TRIAL TO 11/18/2019. ARP
MA: CONFIRMED ARP :
s PTR MAND: Held ARP
S 06 05 2019 PTR MAND Set for 08/20/2019 10:00 AM TDI
s in Room 4 with Judge RWB ‘ TDI
07 10 2019 DEF CALLED STATING THAT HE GETS HIS LICENSE REINSTATED SNS
TOMORROW AND WANTED TO KNOW IF HE COULD GET HIS IID REMOVED. SNS
ADVISED THAT HE NEEDS TO SPEAK WITH HIS ATTY ABOUT THIS SNS
MATTER. SNS
08 20 2019 RWB, CTRM 4, DEF, ATTY RUSK, DPA SURRATT. WAIVER OF TIME FOR ARP
TRIAL SIGNED. BY AGREEMENT OF PARTIES CONT PTR TO ARP

10/08/2019. DEF SIGNED NOTICE TO APPEAR. ARP
16$34:03 WednesddyASAmias @B405h95-JICC Document 14

poo71I More records available.

Filed 06/12/23

Page 71 of 82

DD1000PI

01/29/20 16:33:44

DD1OO1MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID: __
Name: NmCd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI
Case: 9270140627 WSP CT Criminal Traffic
08 20 2019 DEFENDANT WAIVES SPEEDY TRIAL TO 10/08/2019. ARP
MA: CONFIRMED ARP
8 PTR MAND Set for 10/08/2019 10:00 AM TDI
s in Room 4 with Judge RWB TDI
S PTR MAND: Held ARP
09 03 2019 WOMAN CLD FOR INFORMATION ON CASE; DIRECTED HER TO OUR KLD
WEBSITE TO FILL OUT A PUBLIC DISCLOSURE FORM, KLD
09 04 2019 CANDANCE ARDEN AT COUNTER AND FILED RECORDS REQUEST. CLL
09 05 2019 CALLED CANDACE ARDEN TO ADVISED RECORDS REQUEST IS READY AND CLL
FILES HAVE BEEN PULLED. SHE STATED SHE WILL BE IN ON CLL
9/10/19. CLL
09 17 2019 CANDANCE ARDEN AT COUNTER AND PAID $2.00 FOR COPIES. CLL
Ss 19261100201 Miscellaneous Payment Received .75 GAR
s for COPY/TAPE FEES GAR
DO0071Z More records available. DD1O00PT

01/29/20 16:33:46

DD1001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID:
Name: NmCd:

Name/Title: ANDERSON, DAHLTON GRADY

Case:

09 17 2019 CANDACE ARDEN PAID $2.75 FOR COPIES ON 92140627 $2.00 AND

09 30 2019
10 O01 2019

10 02 2019

DUL

970140627 WSP CT Criminal Traffic

GAR

(214785 25 CENTS. APPLIED MONIES TO THIS CASE AS C214785 HAS GAR

BEEN PURGED.
AGREED MOTION & ORDER FOR CONTINUANCE FILED BY ATY RUSK

PER JUDGE BUZZARD-MOTION/ORDER NOT SIGNED BY PA'S OFFICE.

GAR
TDI
TDI

CONTINUANCE WILL BE ADDRESSED AT TIME OF HEARING ON 10/8/19 TDI

2ND AGREED MOTION & ORDER FOR CONTINUANCE W/PA'S SIGNATURE

FILED BY ATY RUSK ALONG W/SPDY WAIVER THROUGH 1/27/20.

CONTINUANCE TO 10/29/19 10AM GRANTED. JUDGE BUZZARD SIGNED

COPY W/ATY'S ORIGINAL SIGNATURE

COPY MAILED TO ATY RUSK & FORWARDED TO LCPA
PTR MAND Rescheduled to 10/29/2019 10:00 AM
in Room 4 with Judge RWB

D0071I More records available.

Case:
Name:

Name/Title:

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Case:

10 25 2019

10 29 2019

10 30 2019

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01/29/20 16:33:47
DDI001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB

970140627 WSP CT StID:
NmCd:

ANDERSON, DAHLTON GRADY
DUI

970140627 WSP CT Criminal Traffic

PTR MAND on 10/29/2019 10:00 AM

Changed to Room 4 with Judge PRO

Plea/Response of Guilty Entered on Charge 1
Finding/Judgment of Awaiting Sentencing for Charge 1
Case Heard Before Judge PROTEM JUDGE

PROTEM MCBETH, CTRM 4, DEF, ATTY RUSK, DPA AVERY. COP.
PLEA OF GUILT STATEMENT SIGNED BY DEF

PSI ORDER SIGNED; PROVIDE PROB WITH ALCH/DRUG EVAL W/IN
30 DAYS.

PTR MAND: Not Held, Hearing Canceled

CHP: Held

Blood Alcohol Test Not Taken

Finding/Judgment of Guilty for Charge 1

ACR EMAILED TO DOL: MANDATORY CONVICTION
16£34:03 WwednesddyASfamiad, O402b95-JCC Document 14

DOOQ7LI More records available.

DD100iMI Case Docket Inquiry (CDK) LEWIS COUNTY DIST
Case: 920140627 WSP CT StID:
Name: NmCd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI
Case: 970140627 WSP CT Criminal Traffic
10 30 2019 FILE TO PSI STAND UP.
11 04 2019 CONVICTION SHOWS CORRECT ON DOL ADR.
11 27 2019 CHANGE OF MAILING ADDRESS PER DEF.
12 09 2019 SEN MAND Set for 01/14/2020 10:00 AM
in Room 4 with Judge WSS
01 14 2020 Judge SAMUELSON, WADE 8S Imposed Sentence

NHnAHhHMnNHnNHNnHMnNMHNN

Court Imposes Jail Time of 364 Days on Charge 1

with 362 Days Suspended, and

1 Days Credit for time served

Total Imposed on Charge 1:

with 0.00 Suspended

And 769,93 Other Amount Ordered

Filed 06/12/23 Page 72 of 82

DD1OOOPT
01/29/20 16:33:48
PUB

595.00 HMP

WSS, CTRM 4, DEF, ATTY RUSK, DPA AVERY. SENTENCED. TO SERVE HMP
2 DAYS W/ 1 DAY CFTS; JAIL COMMENCING 1/17/20 BY 7PM. RIGHT HMP

DO0O71I More records available. DDLOOOPI
01/29/20 16:33:49
DD1001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 920140627 WSP CT StID: —
Name: NmCd:
Name/Title: ANDERSON, DAHLTON GRADY
DUL
Case: 920140627 WSP CT Criminal Traffic
01 14 2020 TO DRIVE SUSP/REVOKED FOR 90 DAYS. $194.43 DUI, $250 DUC, HMP
$102.50 TPD, $43 CFD, $180 JAIL. OBTAINED DRUG/ALCH EVAL AND HMP
COMPLETED TX. COMPLETED DUI VIP. DO NOT POSSESS/CONSUME HMP
ALCH, MARIJUANA OR NON-PRESCRIBED CONTROLLED SUBSTANCES . HMP
TP $50/MO STARTING 2/14/20. 2 COPIES (DEF/JAIL) JAIL COMMIT HMP
PROVIDED TO DEF; COPY PLACED IN JAIL MAIL BIN AT FRONT HMP
COUNTER. HMP
MA: CONFIRMED HMP
DUA : DUI:Lic/insr/no > .08 or refus GAR
DUA Review Set for 01/14/2025 GAR

Nnnnmnmn wh

1) Not drive veh w/in st w/out a lic & proof of fin resp; 2) GAR
Not drv veh w/in st w/BAC >=.08 or THC >=5.0 w/in 2 hrs after GAR
driving; 3) Not ref BAC/BLD tst when law enf has reas grnds GAR
to blve pers und inf while drvg or phys cont of veh w/in st. GAR

DO0071I More records available.

DD1LOOIMI Case Docket Inquiry (CDK)
9270140627 WSP CT StID:

Case:
Name:
Name/Title:

Case:

Nmcd: __

ANDERSON, DAHLTON GRADY
DUI

970140627 WSP CT Criminal Traffic

8 OL 14 2020 II : DUI Ignition Interlock

NHHNWNHNNNDHNHHAMNHnN

II = PER DOL
NCR : No Criminal Violations
RTO : Restitution
AAO : Alcohol Assessment
DRA : Drug Assessment
VIC : Victims Panel
NAD : No Alcohol or Drugs
NND : No Use of Non-prescribed Drugs
SEN MAND: Held

01 15 2020 Defendant Complied with Alcohol Assessment

Defendant Complied with Drug Assessment
Defendant Complied with Victims Panel
Accounts Receivable Created

LEWIS COUNTY DIST

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01/29/20 16:33:50
PUB

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1,364.93 GAR
16434:03 'Wednesd&yAS@BuZ2ByCwO0Rb95-JCC Document14 Filed 06/12/23 Page 73 of 82

p0031I End of Docket DD1000PI
01/29/20 16:33:51
DD1001MI Case Docket Inquiry (CDK) LEWIS COUNTY DIST PUB
Case: 9%0140627 WSP CT StID: = __
Name: _—s NmCd:
Name/Title: ANDERSON, DAHLTON GRADY
DUI

Case: 920140627 WSP CT Criminal Traffic

S 01 15 2020 Restitution Recipient RTN 1 Added to Case GAR
Ss Restitution Amount Due RTN 1 194.43 GAR
s Due on 01/14/2022 GAR
s Case Scheduled on Time Pay Agreement 1 for: 1,364.93 GAR
s First Pymt Date: 02/14/2020 Amt: 50.00 Freq: M Num: 28 GAR
S$ 01 17 2020 PRB 1 GOLDSBY, SHAWN Removed DIS

Ol 22 2020 WOMAN CLD-WOULD ONLY GIVE HER NAME AS CANDICE. ASKED IF GAR

THERE IS A DISPOSITION ON THIS CASE. ADVISED THAT CASE DOES GAR
HAVE DISPOSITION AND HAS BEEN SENTENCED. ADVISED THAT IF SHE GAR

WOULD LIKE ADDITIONAL INFO SHE CAN FILE PUBLIC DISCLOSURE, GAR
DIRECTED TO WEB SITE REGARDING SAME. GAR
01 29 2020 CANDACE ARDEN AT COUNTER FILED PUBLIC RECORDS REQUEST TO SNS
VIEW FILE AND OBTAIN A COPY OF THE DOCKET NOTES. PROVIDED SNS

COPY OF DOCKET NOTES. SNS
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 74 of 82

JAY INSLEE JOHN R, BATISTE
Governor Chief
STATE OF WASHINGTON
WASHINGTON STATE PATROL
&11 East Roanoke Street @ Seattle WA 98102 « (206) 720-3018 © www.wsp.wa.gov
March 10, 2022

Washington Association of Prosecuting Attorneys
206 10th Ave SE
Olympia, WA 98501

Subject: Potential Impeachment Disclosure Concerning Breath Test Documents — External Standard

On March 3, 2022, the Impaired Driving Section (IDS) discovered that it is possible for a breath test
document to be produced for evidential tests performed on the Draeger Alcotest 9510 when the external
standard check is outside the acceptable range of 0.072 to 0.088 2/210 L, inclusive, as defined in the
Washington Administrative Code (WAC 448-16-050).

A comprehensive review of the approximately 130,000 evidential breath test data entries from the
Draeger currently uploaded into the Impaired Driving Section database has been initiated. To date,
preliminary evaluation of these results has identified 29 instances where a breath test document was
potentially produced when the Electrochemical (EC) External Standard result was outside the acceptable
range.

A list of those tests which have been identified with an EC External Standard result outside the acceptable
range is attached,

A representative of Draeger Diagnostics was notified of the issue by phone on March 4, 2022. After
analyzing raw data files from a sample of the affected breath tests, Draeger Diagnostics determined that in
each case reviewed, the external standard concentration was entered as 0.081 g/210 L during a cylinder
change. The acceptable range was calculated by the instrument as + 10% of this value, thus increasing
the upper limit to 0.089 2/210 L.

Communication was sent to all technicians instructing them to only enter a value of 0,080 g/210 L as the
concentration for the external standard.

if you need additional information, please contact Lieutenant Clark Jones at Clark.Jones@wsp.wa.gov.

Sincerely,

Liewtenant Qlari/G. Jones
Impaired Driving Section

CGJ:skh

Attachment

oct Dr. Fiona J, Couper, Forensic Laboratory Services Bureau
Ms, Amanda M. Black, Toxicology Laboratory Division

Beto w te
216/23; 11:02 ANCaSe 3:23-CcVv-05195-JCC DocumerBerbehshotaed 2G12718BB9d Page 75 of 82

hitps://mail.google.com/mail/u/O#finbox? projector=1

SIieuseTe pore wor Ie-UUUOHO OH LOMAUTS (07 |
|ST-19-03335 [Bremerton WSP 419-006450 3/19/2019 8:37

ST-19-03336 |Bremerton WSP 19-005658 3/19/2019 8:40

ST-19-03477 |Bremerton WSP 19-006734 3/21/2019 13:26

ST-19-03644 Bremerton WSP 19-006942 3/26/2019 5:55

ST-19-03645 |Bremerton WSP 19-006489 3/26/2019 6:03

ST-19-06122 |Bremerton WSP 19-011448 5/24/2019 10:45

ST-19-06162 |Bremerton WSP 19-011609 5/28/2019 9:12

ST-18-15343 | Burlington WSP 18-033583 12/21/2018 8:15

ST-19-05293 | Burlington WSP 19-010367 5/7/2019 12:48

ST-19-05018 |Chehalis WSP 19-009662 4/30/2019 10:05

ST-19-01174 |Chelan Co Sheriff 19C 00679 1/25/2019 6:24

ST-19-02314 |Chelan Co Shariff 19C01613 2/24/2019 11:31

ST-19-02315 |Chelan Co Sheriff 19601725 2/21/2019 11:36 §/29/2019

ST-19-02317 |Chelan Co Sheriff 19C01573 2/21/2019 11:41

ST-19-02493 | Chelan Co Sheriff 19001874 2/27/2019 10:48

ST-19-02979 |Chelan Co Sheriff 19001793 3/8/2019 14:42

ST-19-03906 |Chelan Co Sheriff 49C02858 4/1/2019 5:46 5/30/2019

WA
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 76 of 82

IN THE SUPREME COURT
OF THE STATE OF WASHINGTON
Supreme Court Cause No. 101051-6
Court of Appeals Division II Cause No. 56353-3-

In Re City of Long Beach,
Respondent,
And

Candace Marie Arden,
Appellant:

Motion for Reconsideration from Court of Appeals No. 56353-II
Appeal from Superior Court of Pacific County No. 21-00069-4
Judge Heidi Heywood, Judge Pro Tem
Appeal from City of Long Beach No. 1A0090072
Honorable Judge kris Kaino

PETITION FOR A WRIT OF MANDAMUS
MEMORANDUM OF POINTS OF AUTHORITIES

Candace Marie Arden, Petitioner
Astoria, Oregon 97103
candacearden@gmail.com
Telephone: 503-7396374

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 77 of 82

Due to the nature of this most malicious action, and because of ill health, I
am refraining from participating in this action at this time. I need to take a
leave from this —It is tooooo TOXIC.

This is not a criminal traffic case, but one of murder, insurance fraud, and
maliciousness. I still have severe headaches, etc.

I have been advised by a prominent law firm specializing in automobile
accidents, insurance fraud; and upon looking over the evidence, especially
the illegal search warrant, obtained in violation of the hippa laws, the staged
auto accidrent, AND THE DELIBERATE INJECTION OF 125 MICRO
MILIGRAMS OF Fentenal into my system when I was unconscious and not
breathing, and the paralyzing of my system is considered MURDER ONE
ATTEMPTED. I have been advised to take care of myself and take other
necessary actions TO PROTECT MYSELF. This is a case for
MANDAMAS regarding corruption of law enforcement, medical
malpractice, and judicial and prosecutorial branches, etc. I am in the wrong
court.

I am however, going to file what I have to give in this court. Seattle vs.,
Allison, Seattle vs. Clark-Munez, and Seattle vs. Holifield, are still in vogue.

It appears that he Supreme Court has no power to correct our corrupt
judicial/prosecutorial system. I have helped people for 35 years - DON’T
EXPECT ME TO CHANGE ANYTIME SOON -- TAM TOOOOO OLD.

Those cases do not apply to my case. See the file attached.

THIS CASE MAKES ME SICK AND I NEED TO TAKE A BRAKE AND
AM ADVISED TO TAKE APPROPRIATE NECESSARY ACTION.

STOP TRYING TO KILL ME AND STOP TRYING TO TERRORIZE ME.

I HAVE YOUR PHOTOGRAPHS— just don’T THINK I DON’T.

Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 78 of 82

IN THE SUPREME COURT OF THE STATE OF WASHINGTON

CITY OF LOGBEACH, )
Respondent, ) No. 1 0-1-0-6-1 - 6
V. ) Court of Appeals N. 56353 —3 — I
Candace Marie Arden ) (CORRECTED AND AMENDED)
Petitioner. ) MOTION TO MODIFY RULING

)

1. IDENTITY OF MOVING PARTY
Pro Se Petitioner, Candace Marie Arden, does herein seek a Motion to
Modify the Ruling Dated September 8,2022. This Motion is based on the
Following Affidavit:
AFFIDAVIT
STATE OF WASHINGTON):

COUNTY OF THURSTON pees

NOW HERE COMES THE PETITIONER IN THE ABOVE ENTITLED
MATTER AND UNDER OATH, STATES THE FOLLOWING:

I. That I was Deprived of my rights to trial in the Court of the City of

Long Beach and again in the Superior Court of Pacific County under

Title 18, 241 and Title 18, 242.
Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 79 of 82

I.

The City of Long Beach, did not file a probable cause affidavit, only a
citation dated January 2, 2021, filed on the 26" of January. The
Police didn’t even know what my blood draw was until I told him on
the 11" of January 2021. The search warrant was illegally (I had to be
notified in writing) served and only the blood test would be
accessible, not my whole life history, of which much is omitted
pertinent details are admitted, including my POLST. Furthermore, the
search warrant had to be served upon hospital administration, not a
nurse. The Judge and the Prosecutor deprived me of my right to a
speedy trial on April 26", 2021 and Again on May 10" by threatening
to with jail and imprisonment when I refused to sign the Motion to
amend the DWI to Neg Driving in the 2™4 and when I tried to re-enter
my speedy trial pleading, which was ignored on April 26" when we
had a long argument (Prosecutor, Judge, and myself) on the speedy
trial right which expired on the day. He seems to think that I have a
mental problem going on —I do—J ama civil right activist because of
the corrupt court system. Another accident was intentionally created.
A man saw it and told me he saw the moped driver immediately speed
up and drive into the bike lane as I slowed to turn right. This man

gave me his phone number and name. The moped driver gave me a
Case 3:23-cv-05195-JCC Document14 _ Filed ee +Pade 80 pf 82 /
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He tried to claim that he hurt his back, but I

om

fake name and address

took photos of him and when I told him about insurance fraud, he told
me that if I ever called him again, he would have me arrested for
telephone harassment. Michael Parker threatened my life on July 1,
2021, that if I ever entered Long Beach again he would perform a stop
that I would live to regret. I have never been back. In fact, when I
travelled to the Superior Court, J travelled through Longview and into
Lewis County through Pe Ell, etc. The Superior Court Clerk of
Pacific County never allowed me to see the file or transcribe the tapes
from the district court once I discovered that the record on appeal was
defective. The pro-tem who heard the case in Pacific County District

Court, totally ignored the fact that I did not agree to the CHARGE OF ,

Aid L-

NEGLIGENT DRIVEN IN THE SECOND DEGREE. 14 ™ “0-7
eis 324

SUBSCRIBED AND SWORN TO BEFORE ME THIS

Golby / HOTAIY PUBLIC in ane for
Candace Arden Residing at ee le~.

Dei eyaee. NU
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Day of November 2022.

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Case 3:23-cv-05195-JCC Document14 Filed 06/12/23 Page 81 of 82

RELEVANT LAW
THIS IS A TITLE 18241 and 242 CIVIL RIGHTS DEPRIVATION
UNDER THE COLOR OF LAW. NO ARGUMENT NECESSARY.

DATED this 22 _ day of November 22, 2022.

Linda Ferber

Candace M. Arden

oa

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NOTA

# @ONINSVaL SdSN

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2/2/80 =AVG AYSAIMAC daL0adx3

v0 OGY

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@TVW ALIMOMd

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